             Case 2:12-cr-00375-TLN Document 109 Filed 05/30/14 Page 1 of 3



 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Michael Taylor Sr.
 4
 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                               )
     UNITED STATES OF AMERICA,                   )   Case No.: 2:12-cr-0375-TLN
 9
                                                 )
10                Plaintiff,                     )   STIPULATION AND ORDER FOR
                                                 )   CONTIUATION OF THE STATUS
11                                                   CONFERENCE
           vs.                                   )
12                                               )
     GREGORY MARTIN, et al.,                     )
13            Defendants.                        )
14                                               )
15
16         Plaintiff, United States of America, by and through its counsel of record, and
17   Defendants, by and through their counsel of record, hereby stipulate as follows:
18         1.     By previous order, this case was set for a Status Conference on May 29,
19                2014.
20         2.     By this stipulation, the all Defendants agree to continue the Status
21                Conference to August 7, 2014, at 9:30 a.m.. The parties stipulate to
22                exclude time until August 7, 2014, under Local Code T4. Plaintiff does
23                not oppose this request.
24         3.     The parties agree and stipulate and request that the Court find the
25                following:
26                a. Thomas A. Johnson, counsel for Michael Taylor Sr., requests a
27                    continuance due to the fact that Mr. Johnson is currently in a trial in
28                    Contra Costa County.


                                                                                                1
           Case 2:12-cr-00375-TLN Document 109 Filed 05/30/14 Page 2 of 3



 1              b. Counsel for defendants believes that failure to grant the above-requested
 2                 continuance would deny him/her the reasonable time necessary for
 3                 effective preparation, taking into account the exercise of due diligence.
 4              c. The government does not object to the continuance.
 5              d. Based on the above-stated findings, the ends of justice served by
 6                 continuing the case as requested outweigh the interest of the public and
 7                 the defendant in a trial within the original date prescribed by the Speedy
 8                 Trial Act.
 9              e. For the purpose of computing time under the Speedy Trial Act, 18
10                 U.S.C. § 3161, et seq., within which trial must commence, the time until
11                 August 7, 2014, is deemed excludable pursuant to 18 U.S.C.§
12                 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
13                 continuance granted by the Court at defendant’s request on the basis of
14                 the Court’s finding that the ends of justice served by taking such action
15                 outweigh the best interest of the public and the defendant in a speedy
16                 trial.
17        4.    Nothing in this stipulation and order shall preclude a finding that other
18              provisions of the Speedy Trial Act dictate that additional time periods are
19              excludable from the period within which a trial must commence.
20
21        IT IS SO STIPULATED.
22
     DATED: May 27, 2014
23                                                 By:    /s/ Thomas A. Johnson
                                                          Thomas A. Johnson
24                                                        Attorney for Michael Taylor Sr.
25
     DATED: May 27, 2014
26                                                 By:    /s/ Thomas A. Johnson for
                                                          CHRISTOPHER COSCA
27                                                        Attorney for Gregory Martin
28

                                                                                               2
            Case 2:12-cr-00375-TLN Document 109 Filed 05/30/14 Page 3 of 3


     DATED: May 27, 2014
 1                                           By:     /s/ Thomas A. Johnson for
                                                     TIMOTHY WARRINER
 2                                                   Attorney for Michael Taylor Jr.
 3   DATED: May 27, 2014
                                             By:     /s/ Thomas A. Johnson for
 4                                                   MICHAEL CHASTAINE
                                                     Attorney for Andre Walters
 5
 6
     DATED: May 27, 2014                             BENJAMIN B. WAGNER
 7                                                   United States Attorney
 8                                             By:    /s/ Thomas A. Johnson for
                                                     JARED DOLAN
 9                                                   Assistant U.S. Attorney
10
11                                     ORDER
12         IT IS SO ORDERED.
13
14   Dated: May 30, 2014
15
16
                                              Troy L. Nunley
17                                            United States District Judge
18
19
20
21
22
23
24
25
26
27
28

                                                                                       3
